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14
                                  UNITED STATES DISTRICT COURT
15
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                         OAKLAND DIVISION
17
18   IN RE APPLE & AT&TM ANTITRUST )              Case No. C 11-06714-YGR
     LITIGATION                            )      Related Case No. C 07-5152-JW
19                                         )
                                           )      PLAINTIFFS’ MEMORANDUM
20                                         )      OF POINTS AND AUTHORITIES
                                           )      IN OPPOSITION TO DEFENDANT
21                                         )      APPLE’S MOTION TO DISMISS
                                           )      THE AMENDED CONSOLIDATED
22                                         )      COMPLAINT
23                                         )
                                           )      DATE:      January 15, 2013
24                                         )      TIME:      2:00 p.m.
                                           )      CRTRM:     TBD
25                                         )      JUDGE:     Hon. Yvonne Gonzalez Rogers
     _____________________________________ )
26
27
28
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 1   I.      INTRODUCTION
 2           The present motion by Defendant Apple Inc. (“Apple”) in this case1 seeks to dismiss,
 3   pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Plaintiffs’ claim that Apple
 4   has unlawfully monopolized and attempted to monopolize the aftermarket for software
 5   applications for its highly popular iPhone (the “Apps” claim). Apple’s motion is procedurally
 6   improper and lacks even a modicum of substantive merit.
 7           This is the third motion to dismiss that Apple has filed in this case. In its first two Rule 12
 8   motions, both brought while former Chief Judge James Ware was still presiding over the case,
 9   Apple never sought to dismiss Plaintiffs’ Apps claim – and for good reason. Judge Ware already
10   had sustained the exact same claim in the prior action (Apple I), and he rejected each of the central
11   arguments Apple now repeats here. In Apple I, Judge Ware ruled that the plaintiffs had standing
12   as direct purchasers and properly alleged an aftermarket monopolization claim and cognizable
13   product market for the Apps. When Apple filed its first two Rule 12 motions in this case, it
14   undoubtly expected Judge Ware to follow his prior decisions and again reject any renewed motion
15   to dismiss the Apps claim. So when Judge Ware was still assigned to this case, Apple deliberately
16   omitted from its first two Rule 12 motions any argument that Plaintiffs lacked standing (Rule
17   12(b)(1)) or that they failed to state a claim (Rule 12(b)(6)) as grounds for dismissal.
18           Now that this case has been reassigned, Apple is just trying its luck with a different judge,
19   hoping to convince this Court to overrule Judge Ware’s prior decisions against Apple. Apple’s
20   gamesmanship should not be condoned, and its present motion should be summarily rejected for
21   three separate reasons:
22           First, Apple’s motion is prohibited by Federal Rule of Civil Procedure 12(g), which
23   permits a defendant to make only one pre-answer Rule 12 motion. Rule 12(g) prevents Apple
24   from wasting judicial and adverse party resources by making successive pre-answer motions on
25
     1
26           This case, In re Apple iPhone Antitrust Litigation, No. C-11-06714-YGR (“Apple II”), is related to
     two other actions. The first, filed four years before this case, is In re Apple & AT&TM Antitrust Litigation,
27   No. C-07-05152 JW (“Apple I”). The second, filed the year after this case, is Ward v. Apple Inc., No. 12-
     cv-05404-YGR (“Apple III”). All three related cases are described below.
28

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 1   different grounds. Rule 12(g) required Apple to assert all of its Rule 12(b)(1) and 12(b)(6)
 2   arguments against the Apps claim in a single motion. Apple’s failure to raise these arguments in
 3   its first and second Rule 12 motions bars it making them now in its third Rule 12 motion.
 4           Second, Judge Ware’s prior decision in Apple I collaterally estops Apple from raising
 5   identical arguments that Plaintiffs lack standing or fail to state a claim in this case.
 6           Third, even if Apple could raise these arguments again, its arguments lack merit precisely
 7   for the reasons already articulated by Judge Ware. There is no reason this Court should ignore or
 8   overrule Judge Ware’s prior decision on these identical issues. The only new wrinkle in Apple’s
 9   latest argument is the Ninth Circuit’s recent decision on direct purchaser standing in In re ATM
10   Fee Antitrust Litigation, 686 F.3d 741 (9th Cir. 2012), but that wrinkle is easily ironed out. The
11   ATM Fee case simply reaffirms pre-existing law and fortifies Judge Ware’s holding that iPhone
12   Apps consumers are direct purchasers who are entitled to sue. Apple misrepresents the critical
13   facts and holdings of the case to twist it into supporting Apple’s position when it plainly does not.
14           Finally, Apple’s motion to strike Plaintiffs’ allegations and request for injunctive relief on
15   the voice and data aftermarket claims that Judge Ware dismissed earlier in this case should also be
16   denied. It is common practice within this Circuit for plaintiffs filing amended complaints to
17   restate previously dismissed claims in an amended pleading.               Indeed, until recently, such
18   dismissed claims had to be restated to preserve them for appeal.               The amended complaint
19   expressly alleges that Plaintiffs repled their voice and data aftermarket monopolization claims
20   solely to preserve those claims for an appeal. Apple does not (and cannot) assert that it has been
21   prejudiced or harmed in the least by the re-pleading. Apple has not met its burden of proving that
22   those allegations are scandalous, impertinent, or immaterial within the meaning of Rule 12(f).2
23           Accordingly, Apple’s latest motion to dismiss should be denied in all respects.
24   2
              See New York City Emps. Ret. Sys. v. Berry, 667 F. Supp. 2d 1121, 1128 (N.D. Cal. 2009) (Ware,
25   J.) (quoting Rivers v. County of Marin, C 05-4251, 2006 U.S. Dist. LEXIS 12496, at *6, 2006 WL 581096,
     at *2 (N.D. Cal. 2006)) (other citations omitted) (motions to strike “are generally regarded with disfavor”
26   and should only be granted if “‘the matter has no logical connection to the controversy at issue and may
     prejudice one or more of the parties to the suit’”; where the “moving party cannot adequately demonstrate
27   such prejudice, courts frequently deny motions to strike ‘even though the offending matter literally [was]
     within one or more of the categories set forth in Rule 12(f)’”).
28

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 1   II.      RELEVANT BACKGROUND AND PROCEDURAL HISTORY
 2            A.     Apple I
 3            Apple I consolidated several class actions filed shortly after Apple launched its first iPhone
 4   on June 29, 2007. The cases were assigned to Ware, who designated the current Plaintiffs’
 5   counsel as interim lead counsel in April 2008. [ECF No. 100] The consolidated amended
 6   complaint in Apple I alleged two distinct antitrust claims. The “Voice and Data Service” claims
 7   alleged that Apple and AT&T Mobility LLC (“ATTM”), which was also named as a defendant in
 8   Apple I, had engaged in a classic aftermarket monopolization scheme by entering into a secret
 9   agreement to make ATTM the exclusive cell phone service provider for iPhones for five years
10   while letting iPhone buyers believe they were entering into ordinary two-year service agreements
11   with ATTM that were terminable at will. As a result of the secret five-year deal (which was so
12   secret Apple and ATTM did not even tell their own sales personnel about it), iPhone customers
13   were unknowingly “locked in” to ATTM in the iPhone voice and data services aftermarket for five
14   years. The scheme enabled Apple and ATTM to sell more iPhones than they would have sold if
15   customers knew they would be stuck with ATTM for five years, and it enabled ATTM to charge
16   more for its voice and data service plans than it would have been able to charge absent the illegal
17   lock-in agreement. [ECF No. 109, at ¶¶ 1-12, 27-33, 65-70, 77-86, 91-93, 120-121, 133-150]
18            The Apps claim alleged that Apple monopolized the aftermarket for downloadable
19   software applications providing such functions as internet access, instant messaging, ring tones,
20   games, and video and photography capability for the iPhone. Apple achieved its aftermarket
21   monopoly by preventing iPhone consumers from downloading any software applications that it
22   did not “approve” and by requiring all “approved” apps to be sold only through Apple’s own
23   “Apps Store,” which enabled it to impose a fee equal to 30% of the price of any apps they sold.
24   [Id. at ¶¶ 71-73, 87-90, 122-132]
25            On June 27, 2008, Apple moved to dismiss the Apple I complaint and ATTM moved to
26   compel arbitration as against it pursuant to an arbitration clause in its standard two-year wireless
27   service agreement with all iPhone consumers. [ECF Nos. 122, 115] With respect to the Apps
28   claim, Apple argued that the plaintiffs in Apple I failed adequately to plead the required elements

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 1   of their claim (including the “relevant market,” “monopoly power” and “anticompetitive conduct”
 2   elements). [ECF No. 122 at 6-11, 12-13] That argument in Apple I was identical to one of the
 3   arguments against the Apps claim that Apple now repeats on the present motion.
 4          Judge Ware denied both defendants’ motions on October 1, 2008. Apple I, 596 F. Supp. 2d
 5   1288 (N.D. Cal. 2008). Judge Ware concluded that if the plaintiffs’ allegations were proved,
 6   Apple would have committed antitrust violations under Section 2 of the Sherman Act as to both
 7   the Voice and Data Service claims and the Apps claim. Id. at 1301-06. In doing so, Judge Ware
 8   expressly held that the plaintiffs plausibly alleged a relevant market, market power and
 9   anticompetitive conduct in support of their Apps claim:
10          Apple moves to dismiss on the ground that Plaintiffs have made no legally
11          cognizable claim of market power or monopolization in the alleged iPhone
            applications aftermarket.
12
            The allegations in the Complaint recite facts, which, if presumed to be true, would
13          support the existence of an aftermarket for iPhone applications. . . . Plaintiffs . . .
14          have alleged that Apple enforced entry into the Applications Aftermarket, and
            limited access to software applications in which it maintained a financial interest.
15
                                                *       *       *
16
            Through the initial iPhone purchase and contracting, Apple is alleged to have
17          gained the “special access” to consumers by which it is then able to lock consumers
            into use of only applications in which Apple maintained a financial interest. . . .
18          Apple is then alleged to have enforced its special position through technological
19          controls and the issuance of software update Version 1.1.1.

20          In sum, Plaintiffs have sufficiently alleged market power and monopolization in the
            iPhone voice and data services [sic – applications] aftermarket, which, taken with
21          Plaintiffs’ market allegations, is sufficient to state a claim for violation of § 2 of the
22          Sherman Act.

23   Id. at 1304, 1306 (citations omitted).
24          The Apple I plaintiffs moved for class certification in January 2010. [ECF No. 240 (filed
25   under seal)] In opposing class certification, Apple made another argument that it again repeats on
26   this motion, namely, that the plaintiffs lacked standing to assert the Apps claim because they were
27   supposedly “indirect purchasers” of the Apps under Illinois Brick Co. v. Illinois, 431 U.S. 720
28   (1977), and the Eighth Circuit’s decision in Campos v. Ticketmaster Corp., 140 F.3d 1166 (8th

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 1   Cir. 1998). [ECF No. 365 at 28-29] Judge Ware granted class certification on July 8, 2010, and
 2   he expressly rejected Apple’s indirect purchaser argument and its misguided reliance on
 3   Ticketmaster:
 4
            [T]he Court rejects Apple’s contention that certification of a class as to the
 5          applications aftermarket is barred by Illinois Brick Co. v. Illinois, 431 U.S. 720, 97
            S. Ct. 2061, 52 L. Ed. 2d 707 (1977). (See Apple Opp’n at 28-29.) . . . “The
 6          Supreme Court has defined an indirect purchaser as one who is not the immediate
            buyer from the alleged antitrust violator or one who does not purchase the
 7
            monopolized product directly from the antitrust defendant.” Campos v.
 8          Ticketmaster Corp., 140 F.3d 1166, 1169 (8th Cir. 1998) (citing Kansas v.
            UtiliCorp United, Inc., 497 U.S. 199, 207, 110 S. Ct. 2807, 111 L. Ed. 2d 169
 9          (1990); California v. ARC America Corp., 490 U.S. 93, 97, 109 S. Ct. 1661, 104 L.
10          Ed. 2d 86 (1989)). Here, [Plaintiffs’ expert] Dr. Wilkie’s analysis does not rest on
            an indirect purchaser model. Rather, his analysis is of “sales of approved apps
11          through [Apple’s] App Store.” (Wilkie Decl. P 71.) Thus, the class members deal
            directly with the accused monopolist, Apple. Although Campos found that Illinois
12          Brick applied in a context where class members dealt directly with the monopolist
13          (Ticketmaster)—“ticket buyers only buy Ticketmaster’s services [at marked up
            prices] because concert venues have been required to buy those services first”—the
14          Court is not aware of any Ninth Circuit case that applied Illinois Brick in this
            manner, and the Court declines to do so here.
15
16   Apple I, No. C 07-05152 JW, 2010 U.S. Dist. LEXIS 98270, at *40-42 n.27 (N.D. Cal. July
17   8, 2010) (other citations omitted).
18          Ultimately, after the Supreme Court’s decision in AT&T Mobility LLC v. Concepcion, 131
19   S. Ct. 1740 (2011), Judge Ware granted a renewed motion by ATTM to compel arbitration of the
20   plaintiffs’ claims in Apple I, and ordered each of the nine plaintiffs to arbitrate individually against
21   Apple as well (even though Apple’s own service agreement required the plaintiffs to sue Apple in
22   court in California), finding that Apple was entitled to invoke ATTM’s arbitration clause under
23   equitable estoppel principles. Apple I, 826 F. Supp. 2d 1168 (N.D. Cal. 2011). Judge Ware
24   granted the plaintiffs leave to appeal his decision to compel arbitration as against Apple, Apple I,
25   No. C 07-05152 JW, 2012 U.S. Dist. LEXIS 16505 (N.D. Cal. Feb. 1, 2012), but on April 27,
26   2012, the Ninth Circuit declined to accept the interlocutory appeal. [ECF No. 570]
27
28

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 1          B.      Apple II
 2          On December 29, 2011, Plaintiffs filed the first of two actions that became consolidated
 3   into this case. Plaintiffs sued only Apple and not ATTM. Plaintiffs here asserted the exact same
 4   Apps claim against Apple as the plaintiffs had asserted in Apple I. See Amended Complaint [ECF
 5   No. 26], at ¶¶ 4-7, 10, 46-47, 63-66, 81-95. However, in this case, Plaintiffs asserted their Voice
 6   and Data Services claims only against Apple and did not in any way rely on the ATTM service
 7   contract that contained the arbitration clause at issue in Apple I. In a prior decision in this case,
 8   Judge Ware acknowledged that the Voice and Data Services claims in the two cases differed. See
 9   Apple II, No. C 11-06714, 2012 U.S. Dist. LEXIS 97105, at *23-24 (N.D. Cal. July 11, 2012)
10   (“The Court rejects Defendant’s contention that the Court should order Plaintiffs to arbitrate their
11   claims in this case because these claims are ‘the same’ as the claims that were subjected to
12   arbitration in the In re Apple & AT&TM Antitrust Litigation. . . . Plaintiffs have not contended that
13   any of their claims arise from ATTM service contracts.”).
14          Apple filed its first Rule 12 motion in the present case on March 2, 2012, while the case
15   was still pending before Judge Ware. Apple’s first motion was limited to seeking dismissal of the
16   Voice and Data Service claims under Rule 12(b)(7) for failure to join ATTM as a purportedly
17   necessary and indispensable party. [ECF No. 14] Apple did not make a motion to dismiss the
18   Apps claim before Judge Ware. Apple’s first Rule 12 motion was denied as moot by Judge Ware
19   on March 20, 2012, because it was directed at only the first of the two filed complaints in this case
20   and Plaintiffs had not yet consolidated their claims in a single complaint. [ECF No. 25]
21          Apple filed its second Rule 12 motion in this case on April 16, 2012. In that motion Apple
22   repeated its initial Rule 12(b)(7) argument and added as well a new argument under Rule 12(b)(6)
23   that Count III of the amended complaint alleging a conspiracy between Apple and ATTM to
24   monopolize the Voice and Data Services aftermarket failed to state a claim. [ECF No. 37]. Apple
25   again did not move to dismiss the Apps claim before Judge Ware.
26          The Court held that ATTM was a necessary party and directed dismissal of Plaintiffs’
27   Voice and Data Service claims unless Plaintiffs filed an amended complaint joining ATTM.
28   Apple II, 2012 U.S. Dist. LEXIS 97105, at *31-34. However, Judge Ware’s Order permitted

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 1   Plaintiffs to proceed with their Apps claim against Apple. Plaintiffs elected not to add ATTM as a
 2   party, and filed their amended complaint on September 28, 2012. [ECF No. 81]
 3           Apple filed its third motion to dismiss on November 2, 2012, after Judge Ware’s
 4   retirement, asserting for the first time in this case its Rule 12(b)(1) and 12(b)(6) defenses directed
 5   at Plaintiffs’ Apps claim. [ECF No. 88]
 6           C.     Apple III
 7           On October 10, 2012, Zack Ward and Thomas Buchar, who were not named plaintiffs in
 8   either Apple I or Apple II, filed a new complaint against Apple only, in which they allege a single
 9   claim that Apple conspired to monopolize the iPhone Voice and Data Services aftermarket. [Case
10   No. 12-05404, ECF No. 1] The complaint in Apple III does not assert an Apps claim, it does not
11   name ATTM as a defendant, and it does not rely in any way on ATTM’s service contract.
12           As stated in the parties’ recently-filed Joint Case Management Statement, the Apple III
13   plaintiffs consent to re-submitting the briefing that was previously submitted in Apple II with
14   respect to Apple’s argument that ATTM is a necessary and indispensible party under Rule 19 as to
15   the Voice and Data Services claim, if the Court agrees to that procedure. [ECF No. 15, at 5]
16   III.    LEGAL ARGUMENT
17           A.     Apple’s Motion to Dismiss is Improper Under Rule 12(g)
18          Apple’s current motion, which raises grounds not asserted in either of its two prior motions
19   to dismiss in this action, is barred under Rule 12(g). Rules 12(g) and (h) “promote the early and
20   simultaneous presentation and determination of preliminary defenses.” Chilicky v. Schweiker, 796
21   F.2d 1131, 1136 (9th Cir. 1986), rev’d on other grounds, 487 U.S. 412 (1988). Thus, Rule 12(g)
22   “requires that a party who raises a defense by motion prior to an answer raise all such possible
23   defenses in a single motion; omitted defenses cannot be raised in a second, pre-answer motion.”
24   Id. at 1136 (emphasis added). See also, e.g., Myers v. Am. Dental Ass’n, 695 F.2d 716, 720 (3d
25   Cir. 1982) (same). Rule 12(g) eliminated a practice permitted under “the original rule,” which
26   divided defenses “into two groups which could be the subjects of two successive motions” – now,
27   Rule 12(g) bars a defendant from successive, piecemeal motion practice. Fed. R. Civ. P. 12 (Adv.
28   Comm. notes to 1946 amendments). See also id. (Adv. Comm. notes to 1966 amendments)

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 1   (“Amended subdivision (g) is to the same effect. This required consolidation of defenses and
 2   objections in a Rule 12 motion is salutary in that it works against piecemeal consideration of a
 3   case.”)
 4             Rule 12(g)(2) expressly states that “[e]xcept as provided in Rule 12(h)(2) or (3), a party
 5   that makes a motion under this rule must not make another motion under this rule raising a defense
 6   or objection that was available to the party but omitted from its earlier motion.” Fed. R. Civ. P.
 7   12(g)(2). Under Rule 12(h), certain defenses are deemed non-waivable – including the Rule
 8   12(b)(6) defenses Apple seeks to assert here. However, even non-waivable defenses cannot be
 9   the subject of successive Rule 12(b) motions:
10
               If omitted from the initial motion, those matters may not be raised in a successive
11             Rule 12(b) motion, but may be raised in any Rule 7(a) responsive pleading, in a
               Rule 12(c) motion for judgment on the pleadings, or at trial.
12
     2 James Wm. Moore et al., Moore’s Federal Practice ¶ 12.23 at 12-31 (3d ed. 2012)) (emphasis
13
     added).
14
               Numerous courts in this Circuit and elsewhere have so held. See, e.g., Sunnergren v.
15
     Ahern, No. C 10-2690, 2010 U.S. Dist. LEXIS 114874, at *2 n.1 (N.D. Cal. Oct. 27, 2010) (Koh.,
16
     J.) (“Rule 12(g) requires that a party who raises a defense through a pre-answer motion raise all
17
     such possible defenses in a single motion; omitted defenses cannot be raised in a second, pre-
18
     answer motion”) (emphasis added); Wafra Leasing Corp. 1999-A-1 v. Prime Capital Corp., 247
19
     F. Supp. 2d 987, 999 (N.D. Ill. 2002) (defendants precluded from asserting 12(b)(6) defense by
20
     second pre-answer motion when they failed to do so in initial motion); EP Operating L.P. v.
21
     Placid Oil Co., No. 93-0257, 1994 U.S. Dist. LEXIS 13065, at *6 (E.D. La. Sept. 13, 1994)
22
     (defendants’ attempt to move to dismiss under 12(b)(7) despite having earlier brought a Rule
23
     12(b) motion “is clearly precluded by the Federal Rules of Civil Procedure”); United States
24
     Fidelity & Guaranty Co. v. Jepsen, No. 90-6931, 1991 U.S. Dist. LEXIS 16818, at *5 (N.D. Ill.
25
     Nov. 1, 1991) (second pre-answer 12(b)(6) motion denied in part because “[o]mitted defenses
26
     cannot be raised in a second pre-answer motion” and “the few novel Rule 12(b)(6) arguments
27
     raised in the second motion to dismiss were all available to [the defendant] at the time of his first
28
     motion to dismiss”).
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 1          It makes no difference that the complaint has been amended since Apple’s initial 12(b)
 2   motions, because the exact same Apps claim was pled in the original complaint in this case and
 3   Apple is raising defenses it was fully capable of raising in its initial 12(b) motions had it chosen to
 4   do so while the case remained before Judge Ware. See, e.g., Church of Scientology v. Linberg,
 5   529 F. Supp. 945, 967 (C.D. Cal. 1981) (rejecting argument that Rule 12(b) defense not raised in
 6   initial motion was preserved where complaint had been subsequently amended, noting that “Rule
 7   12(g) specifically rejects this possibility where, as here, the grounds for the objections were
 8   ‘available’ at the time the previous motion was filed.”); Sears Petroleum & Transp. Corp. v. Ice
 9   Ban Am., Inc., 217 F.R.D. 305, 307 (N.D.N.Y 2003) (if complaint is amended, defendant may
10   bring second Rule 12 motion to object only to any new allegations that were added); 766347
11   Ontario, Ltd. v. Zurich Capital Mkts., Inc., 274 F. Supp. 2d 926, 930 (N.D. Ill. 2003) (same);
12   United States Fidelity, 1991 U.S. Dist. LEXIS 16818, at *7 (the amended complaint “does not
13   automatically revive all the defenses” waived by failure to raise them in a first motion to dismiss).
14          Accordingly, the mere fact that Judge Ware ordered Plaintiffs to file an amended complaint
15   to add a defendant on other claims does not revive Apple’s right to raise defenses to the Apps
16   claim that it was required to raise in its first Rule 12 motion. The Court should deny Apple’s
17   present motion under Rule 12(g).
18          B.      Apple Is Collaterally Estopped from Re-Asserting its Arguments
19          Even if Apple’s current motion were procedurally proper, it still should be denied under
20   the doctrine of non-mutual offensive collateral estoppel. That doctrine bars a party like Apple
21   from making in a later case the very same arguments it fully and fairly litigated but lost in a prior
22   action. See Parklane Hosiery Co. v. Shore, 439 U.S. 322, 327 (1979). Federal courts are granted
23   “broad discretion” to apply the doctrine, id., 439 U.S. at 331, whenever “the estopped issue is
24   identical to an issue” that was litigated and “decided in the first case.” Kamilche Co. v. United
25   States, 53 F.3d 1059, 1062 (9th Cir. 1995) (internal citations omitted).
26          Apple’s contention that the Apps claim was “not a focus of the complaint or the motion
27   practice that occurred” in Apple I, Def’s. Mem. at 4, is simply false. As shown above, in Apple I,
28   Apple fully raised and lost before Judge Ware each of the central arguments it makes here. Apple

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 1   I, 2010 U.S. Dist. LEXIS 98270, at *40-42 n.27 (rejecting Apple’s identical Illinois Brick indirect
 2   purchaser argument); Apple I, 596 F. Supp. 2d at 1304-06 (rejecting Apple’s argument that
 3   plaintiff failed to plead the requisite elements of Apps claim). Chief Judge Ware’s rejection of
 4   these arguments in Apple I precludes Apple from raising any form or variation of them again; not
 5   just the precise arguments Apple made. See Kamilche, 53 F.3d at 1063 (“‘once an issue is raised
 6   and determined, it is the entire issue that is precluded, not just the particular arguments raised in
 7   support of it in the first case’”) (quoting Yamaha Corp. of America v. United States, 961 F.2d 245,
 8   254 (D.C. Cir. 1992)). See also Restatement (Second) of Judgments § 27 (1982) (“If the party
 9   against whom preclusion is sought did in fact litigate an issue . . . and suffered an adverse
10   determination . . . new arguments may not be presented to obtain a different determination.”).
11          The Court’s orders in Apple I disposing of Apple’s current arguments are “final” for the
12   purposes of collateral estoppel. The Ninth Circuit has made clear that,
13
            [t]o be “final” for collateral estoppel purposes, a decision need not possess
14          “finality” in the sense of 28 U.S.C. § 1291. A “final judgment” for purposes of
            collateral estoppel can be any prior adjudication of an issue in another action that is
15          determined to be “sufficiently firm” to be accorded conclusive effect.
16
     Luben Indus., Inc. v. United States, 707 F.2d 1037, 1040 (9th Cir. 1983) (quoting, inter alia,
17
     Miller Brewing Co. v. Jos. Schlitz Brewing Co., 605 F.2d 990, 996 (7th Cir. 1979)). See also
18
     Lummus Co. v. Commonwealth Oil Refining Co., 297 F.2d 80, 89 (2d Cir. 1961) (Friendly, J.)
19
     (“‘Finality’ in the context here relevant may mean little more than that the litigation of a particular
20
     issue has reached such a stage that a court sees no really good reason for permitting it to be
21
     litigated again.”). Luben further relied on the Restatement (Second) of Judgments § 13 (1982), for
22
     its statement that
23
24          Preclusion should be refused if the decision was avowedly tentative. On the other
            hand, that the parties were fully heard, that the court supported its decision with a
25          reasoned opinion, that the decision was subject to appeal or was in fact reviewed
26          on appeal, are factors supporting the conclusion that the decision is final for
            purpose of preclusion.
27
28   Id. at Comment g (emphasis omitted).

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 1          For these reasons, denials of pre-trial motions are often sufficiently “final” for collateral
 2   estoppel. See, e.g., Gilldorn Sav. Ass’n v. Commerce Sav. Ass’n, 804 F.2d 390, 392-94 (7th Cir.
 3   1986) (finding a state court’s order denying a party’s motion to dismiss sufficiently final for
 4   collateral estoppel purposes even though there was no written opinion and the decision was not
 5   appealable); Cook v. Aagard, No. 12-00157, 2012 U.S. Dist. LEXIS 167425, at *22 (D. Utah Nov.
 6   26, 2012) (finding that an order denying a motion to dismiss/suppress “constituted a final order for
 7   purposes of issue preclusion”). Chief Judge Ware’s rulings on Apple’s arguments were well-
 8   reasoned and definitive. There is no reason to doubt that he would have adhered to them had
 9   Apple dared to try to relitigate these issues again on its first two Rule 12 motions, which explains
10   why Apple did not repeat those arguments while Judge Ware was still assigned to this case.
11          Accordingly, the aforementioned orders are sufficiently “final” for collateral estoppel
12   purposes. The Court should therefore exercise its discretion to bar Apple from relitigating issues
13   that it already raised unsuccessfully before the Court.
14          C.      Apple’s Arguments in Any Event Lack Merit
15                  1.      Plaintiffs are Direct Purchasers with Antitrust Standing
16          Apple’s argument that Plaintiffs are indirect purchasers of Apps and therefore lack
17   standing under Illinois Brick is premised on a contorted and incorrect version of the facts alleged.
18   The Amended Complaint plainly alleges that Plaintiffs purchased directly from Apple certain
19   Apps that were made by Apple itself, Compl. ¶¶ 63-66, such as songs converted into ringtones, for
20   which “Apple charged the customer an additional 99 cents,” id. ¶ 64. Plaintiffs also allege that
21   iPhone consumers were forced to buy third party developers’ applications directly from Apple’s
22   Apps Store, and that iPhone consumers were forced to pay Apple a 30% fee on top of the cost for
23   the apps. Id. at ¶¶ 4-5.
24          As Judge Ware recognized in Apple I, both kinds of purchases exemplify classic direct
25   purchaser situations. In the first, consumers bought apps made by the monopolist (Apple) directly
26   from the monopolist. In the second, consumers bought apps made by third party manufacturers,
27   but again bought them directly from the monopolist (Apple) in its role as distributor of all the
28   apps. In both cases, consumers paid the supracompetitive price directly to the monopolist –

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 1   Apple – which kept the entirety of the overcharges for itself. As Judge Ware recognized when he
 2   rejected Apple’s indirect purchaser argument in Apple I, Plaintiffs’ “analysis does not rest on an
 3   indirect purchaser model” but rather on “sales of approved apps through [Apple’s] App Store.”
 4   Apple I, 2010 U.S. Dist. LEXIS 98270, at *40-42 n.27.
 5          Apple admits that Plaintiffs are “Apps consumers” – that is, Apps purchasers – (see Def.
 6   Mem. at 9), but then completely ignores Plaintiffs’ allegations about Apple’s own-manufactured
 7   apps, which are made only by Apple and sold only by Apple. Plaintiffs undoubtedly are direct
 8   purchasers of those apps. Apple then attempts to convolute Plaintiffs’ allegations about third-
 9   party apps to make it appear as though the apps developers, rather than iPhone consumers, were
10   the direct purchasers of third-party apps. See Def. Mem. at 9. Putting aside that Apple’s illogical
11   version bears little resemblance to what Plaintiffs actually allege, Apple’s argument still fails to
12   identify an indirect purchase because under Apple’s argument the developers are not purchasers of
13   the apps at all: the developers make the third-party apps, they do not buy them from Apple. The
14   only purchasers of apps are iPhone consumers, who must purchase third party apps – the tainted
15   product – directly from Apple exclusively on its Apps Store. And iPhone consumers pay the
16   challenged supracompetitive 30% fee directly to the Apps Store at the time of purchase.
17          As the Ninth Circuit has recently reiterated in the case that Apple itself relies upon, the
18   sine qua non for direct purchaser status is whether the plaintiff paid the alleged unlawful fee
19   directly to the alleged wrongdoer.      In re ATM Fee Antitrust Litig., 686 F.3d at 746, 751
20   (upholding district court’s finding of indirect purchaser status where the plaintiffs admitted they
21   “did not directly pay the alleged fixed interchange fees” to the alleged wrongdoer). Under the
22   Ninth Circuit’s straightforward standing test, because Plaintiffs paid the alleged unlawful price –
23   here Apple’s 30% fee – directly to Apple (the alleged monopolist), they are direct purchasers and
24   have standing to sue Apple under Ninth Circuit jurisprudence. Id. at 754.
25          Apple mistakenly focuses on the $99 annual fee that apps developers pay Apple for the
26   right to distribute their apps through Apple’s Apps Store to argue that the developers, too, are
27   “victims” of Apple, in an effort to twist the facts here to resemble those in the Eighth Circuit’s
28   Campos v. Ticketmaster case. Here, of course, Plaintiffs do not challenge the $99 fee that the

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 1   developers paid to Apple since Plaintiffs never paid that fee themselves.         Rather, Plaintiffs
 2   challenge only the 30% fee that they paid directly to Apple. That the developers may also be
 3   victims of Apple as to the $99 annual fee is completely irrelevant to whether Plaintiffs are direct
 4   purchasers as to the totally distinct 30% apps fee under Ninth Circuit law. The Ticketmaster case
 5   is, in any event, an outlier that has “been widely criticized for a variety of reasons.” Duffy, M.M.,
 6   Note: Chipping Away at the Illinois Brick Wall: Expanding Exceptions to the Indirect Purchaser
 7   Rule, 87 Notre Dame L. Rev. 1709, 1737 n.154 (2012). As Judge Ware already noted, there is no
 8   “Ninth Circuit case that applied Illinois Brick in th[e] manner” that Ticketmaster did, and Judge
 9   Ware previously properly “decline[d] to do so here.” Apple I, 2010 U.S. Dist. LEXIS 98270, at
10   *40-42 n.27.
11          Apple disingenuously implies that the Ninth Circuit adopted the Ticketmaster approach in
12   its recent decision in the ATM Fee Antitrust Litigation. But the Ninth Circuit did not even cite
13   Ticketmaster, much less adopt it, and the facts of the two cases are vastly different. The ATM Fee
14   case involved classic indirect purchaser allegations: the plaintiffs claimed that the defendants
15   fixed one fee, called the “interchange fee,” which the plaintiffs did not pay, and that the enhanced
16   price was “passed on” by others in the form of another fee, called the “foreign ATM fee,” which
17   the plaintiffs did pay. Because the plaintiffs did not pay the illegally fixed fee to the alleged
18   wrongdoer, the court ruled they were indirect purchasers. 686 F.3d at 744, 749-50. As Judge
19   Ware previously held, Ticketmaster – which found the plaintiffs to be indirect purchasers even
20   though they dealt directly with the alleged monopolist – is not the law in the Ninth Circuit and,
21   indeed, its analysis is entirely inconsistent with Ninth Circuit precedent, including the recent
22   decision in the ATM Fee case. See Apple I, 2010 U.S. Dist. LEXIS 98270, at *40-42 n.27. Given
23   the Ninth Circuit’s emphasis that direct purchaser status exists whenever the plaintiff pays the
24   challenged unlawful fee directly to the monopolist, In re ATM Fee Antitrust Litig., 686 F.3d at
25   746, 751, 754, Ticketmaster’s strained, counterintuitive analysis is unlikely to be adopted by the
26   Ninth Circuit any time soon.
27          Plaintiffs are direct purchasers and have antitrust standing.
28

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 1                    2.      Plaintiffs Have Article III Standing
 2           Contrary to Apple’s argument that Plaintiffs have not pled that they were personally
 3   injured by Apple’s monopolization of the apps aftermarket, Plaintiffs specifically do allege that
 4   they “have been injured in fact by Apple’s unlawful monopolization [and attempted
 5   monopolization] because they have (a) been deprived of lower cost alternatives for applications,
 6   (b) forced to pay higher prices for Apple “approved” applications, and/or (c) had their iPhones
 7   disabled or destroyed.” Compl. ¶¶ 88, 94. [ECF No. 26] These are specific factual allegations
 8   whereby the Plaintiffs collectively contend they each suffered some or all of these types of direct
 9   and personal harms. Nothing more is required to “show that they personally have been injured”
10   for Article III standing purposes. Lewis v. Casey, 518 U.S. 343, 357 (1996).
11           In a Rule 7(a) notice pleading case like this one,3 each individual plaintiff is not required to
12   particularize separately the precise harm and injury in fact he or she suffered, as Apple intimates.
13   Apple has not cited a case suggesting otherwise. To the extent such a heightened pleading
14   requirement existed, Plaintiffs could easily amend their complaint to meet it.4 See accompanying
15   Declaration of Michael M. Liskow, dated December 7, 2012, attaching several Plaintiff
16   Declarations particularizing their allegations of injury.5
17           Plaintiffs have Article III standing.
18
19
20
     3
21           Even under today’s stricter “plausibility” pleading standards, an antitrust complaint must contain
     only a “‘short and plain statement of the claim showing that the pleader is entitled to relief,’ … [and] [t]he
22   Federal Rules … do not require a claimant to set out in detail the facts upon which it bases its claim.” In re
     Static Random Access Memory (SRAM) Antitrust Litig., No. M:07-cv-01819 CW, MDL No. 1819, 2008
23   U.S. Dist. LEXIS 15826, at *38-39 (N.D. Cal. Feb. 14, 2008) (quoting Fed. R. Civ. P. 8(a), 8(e)).
     4
24           If a court is inclined to grant a motion to dismiss, it is “generally required to grant a plaintiff leave
     to amend, even if no request to amend the pleading was made, unless amendment would be futile.” In re
25   SRAM Antitrust Litig., 2008 U.S. Dist. LEXIS 15826, at *39 (citing Cook, Perkiss & Liehe, Inc. v. N. Cal.
     Collection Serv. Inc., 911 F.2d 242, 246-47 (9th Cir. 1990)).
26
     5
             Plaintiffs are permitted to submit declarations buttressing their standing in response to a Rule
27   12(b)(1) motion. Nichols v. Brown, 859 F. Supp. 2d 1118, 1128 n.4 (C.D. Cal. 2012); Sun Microsys., Inc.
     v. Hynix Semiconductor, Inc., 608 F. Supp. 2d 1166, 1211 (N.D. Cal. 2009).
28

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 1                  3.      Plaintiffs Plead Cognizable Aftermarket Monopolization Claims
 2          As Apple concedes, whether Plaintiffs’ Apps claim is viable is controlled by the Supreme
 3   Court’s decision in Eastman Kodak Co. v. Image Technical Servs., Inc., 504 U.S. 451 (1992), and
 4   the Ninth Circuit’s application of Kodak in Newcal Industries, Inc. v. IKON Office Solution, 513
 5   F.3d 1038 (9th Cir. 2008). Contrary to Apple’s argument, however, those cases – particularly the
 6   Ninth Circuit’s analysis in Newcal – compel the conclusion that Plaintiffs’ Apps claim is
 7   adequately pled.
 8          In Newcal, the Ninth Circuit sustained a complaint alleging that IKON, a copier
 9   manufacturer, schemed to foreclose competition in two aftermarkets – for “upgrade equipment”
10   and for “lease-end services” – by inducing customers to sign lease and service contract
11   amendments that secretly extended the duration of its customers’ original agreements. 513 F.3d at
12   1043-44. The Ninth Circuit held each of the two alleged aftermarkets was a “relevant market” for
13   antitrust purposes. Id. at 1046.
14          The Ninth Circuit analyzed the issue in Newcal, first, by distinguishing two cases on which
15   Apple once relied, Queen City Pizza v. Domino’s Pizza, 124 F.3d 430 (3d Cir. 1997), and Forsyth
16   v. Humana, Inc., 114 F.3d 1467 (9th Cir. 1997). The Ninth Circuit found that in both cases the
17   plaintiffs had “contractually” bound themselves to buy aftermarket goods or services solely from
18   the defendants and, therefore, could not plead viable “economically distinct antitrust” markets.
19   513 F.3d at 1046-47 (Dominos’ franchisees “knowingly and voluntarily signed” “an explicit
20   contractual provision” to use “only Domino’s-approved ingredients and supplies”; Humana’s
21   insureds’ policies had “explicit contractual provisions” limiting them to using certain hospitals).
22          The Ninth Circuit next analyzed Kodak and, distinguishing that case from Queens City
23   Pizza and Humana, found that Kodak supported Newcal’s aftermarket definition:
24
            The critical distinction between Eastman Kodak and the two circuit court opinions
25          was that the Kodak customers did not knowingly enter a contract that gave Kodak
            the exclusive right to provide parts and services for the life of the equipment. In
26          other words, the simple purchase of Kodak-brand equipment (unlike the signing of
            a Domino’s franchise agreement or the purchase of a Humana insurance policy) did
27
            not constitute a binding contractual agreement to consume Kodak parts and services
28          in the aftermarket.

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 1   513 F.3d at 1048. The court continued:
 2
            Equally critically, the Supreme Court found that market imperfections, including
 3          information and switching costs, prevented consumers from discovering, as they
            were shopping for equipment, that the Kodak brand would include a de facto
 4          commitment to consume only supracompetitively priced Kodak-brand service
            contracts.
 5
     Id. (citations to Kodak omitted).
 6
            Thus, under Newcal, the relevant inquiry for ascertaining if a proper antitrust aftermarket
 7
     has been alleged is (i) “whether a consumer’s selection of a particular brand in the competitive
 8
     market is the functional equivalent of a contractual commitment giving that brand an agreed-
 9
     upon right to monopolize its consumers in an aftermarket,” and (ii) “whether consumers entered
10
     into such ‘contracts’ knowing that they were agreeing to such a commitment.” 513 F.3d at 1049
11
     (emphasis added). Whether consumers “knowingly contracted” and committed to buy aftermarket
12
     services and products only from the branded manufacturer is, of course, an inherently factual
13
     inquiry, like other “market definition” related inquiries. See id. at 1045, 1051.
14
            Under Newcal, the relevant inquiry on this Rule 12(b)(6) motion challenging Plaintiffs’
15
     aftermarket definitions is whether Plaintiffs have plausibly alleged that, when buying their
16
     iPhones, they did not contract knowingly to buy only “Apple-approved” iPhone applications for as
17
     long as they owned their iPhones, and did not knowingly contract to pay Apple a 30% fee for
18
     every app they buy at Apple’s Apps Store. The facts alleged in the Amended Complaint more
19
     than plausibly demonstrate that Plaintiffs did not knowingly agree to do either of those things.
20
            In Newcal, the Ninth Circuit resolved this inquiry in the plaintiff’s favor for four reasons,
21
     each of which compels the same result here.          First, Newcal pled the existence of both a
22
     competitive “primary” product (the initial copier lease and service agreement) and “an aftermarket
23
     [for replacement equipment and lease-end services] in which the consumers claim that they should
24
     be able to shop for a secondary product.” 513 F.3d at 1049. Here, Plaintiffs allege a competitive
25
     “primary” product (the iPhone) and an aftermarket in which Plaintiffs want to shop for secondary
26
     products – third-party applications that can be downloaded for free or more cheaply than the
27
     “Apple-approved” applications.
28

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 1          As explained in Newcal, the secondary market should be “derivative from and dependent
 2   on” the primary market; that is, the secondary market would not exist without the primary market.
 3   Id. This addresses the Supreme Court’s concern in Kodak that suppliers of a primary product
 4   might exploit their “unique position” with their customers “to gain monopoly power in the
 5   derivative services market” when such power “was neither naturally nor contractually created.”
 6   Id. In Newcal, the market for copier parts and services was derivative from and dependent on the
 7   market for copiers, and that market would not exist without the market for initial leases and
 8   service contracts. Id. While IKON had a “contractually-created monopoly over services provided
 9   under original IKON contracts” that did not itself violate the antitrust laws, it gave IKON a unique
10   “contractual relationship” with those original consumers that IKON, like Kodak, exploited “to
11   gain [unlawful] monopoly power in a derivative aftermarket in which its power is not
12   contractually mandated.” Id. at 1050 (emphasis in original).
13          As Judge Ware previously found, Plaintiffs make a substantially identical claim here. The
14   iPhone was a unique and innovative product through which Apple lawfully gained a contractual
15   relationship with consumers who bought the product. Apple exploited that original contractual
16   relationships and its position as the provider of the iPhone operating software to prevent
17   consumers from buying iPhone apps in which Apple has no financial interest, thus giving Apple
18   supracompetitive profits and a monopolistic control over the applications aftermarket that it
19   neither naturally nor contractually earned. Accordingly, under Newcal, Plaintiffs allege that the
20   applications aftermarket is a derivate market that would not exist without the primary market for
21   iPhones.
22          Second, the Ninth Circuit found a viable Kodak claim in Newcal because Newcal’s
23   allegations of anticompetitive conduct related “only to the aftermarket” and not to the primary
24   market. 513 F.3d at 1050.     Again, as Judge Ware previously found, Plaintiffs make essentially
25   the same allegation here.
26          Third, the plaintiffs in Newcal alleged that IKON’s market power was derived from the
27   “relationship with” and “special access” to its consumers. Id. “In other words, no provision of
28   IKON’s initial contract [gave] it the power . . . to extend the contract beyond 60 months . . . or to

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 1   prevent competition in lease-end services.” Id. Here, nothing in Apple’s terms of sale with
 2   iPhone purchasers gave Apple the exclusive right to dictate the use of only Apple-approved
 3   applications or to charge a 30% surcharge on every app. Instead, Apple derived that market power
 4   from its relationship with and special access to iPhone customers who were already invested in the
 5   product.
 6          Fourth, in Newcal, “market imperfections” and the defendants’ “fraud and deceit” in
 7   failing to disclose their intent to monopolize the aftermarkets, “prevent[ed] consumers from
 8   realizing that their choice in the initial market will impact their freedom to shop in the
 9   aftermarket.” Id. Just as in Kodak and Newcal, Plaintiffs’ factual allegations here rebut any
10   “presumption that [iPhone] consumers make a knowing choice to restrict their aftermarket options
11   when they decide in the initial (competitive) market” to buy an iPhone. Id
12          In the end, the Ninth Circuit summarized that Newcal’s case against IKON:
13
            is not a case in which the alleged market power flows from contractual exclusivity.
14          IKON is not simply enforcing a contractual provision that gives it the exclusive
            right to provide replacement equipment and lease-end services. Rather, it is
15          leveraging a special relationship with its contracting partners to restrain trade in a
            wholly derivative aftermarket. We therefore reverse the district court’s holding that
16
            Queens City Pizza and Forsyth render Newcal’s complaint legally invalid.
17   513 F.3d at 1050. This Court should reach the same conclusion about Apple’s conduct alleged
18   here, just as Judge Ware did, and the Court should likewise sustain Plaintiffs’ antitrust claims.
19                  4.      Plaintiffs Plead a Relevant Antitrust Aftermarket and Monopoly Power
20          As shown above, Apple cannot successfully challenge Plaintiffs’ applications aftermarket
21   definition on this motion to dismiss unless Plaintiffs “knowingly contracted” away their right to
22   object to Apple’s monopolization of apps that could be downloaded to iPhones. Plaintiffs were
23   unaware of Apple’s policy barring third-party applications at the time of purchase and never
24   agreed to any such limitation on their aftermarket behavior in their original agreement with Apple.
25   See Liskow Decl. at Exhs. A-E. To the extent Apple argues otherwise, or contends that its Apps
26   Store policies became generally known at some point in time, thereby limiting the duration of its
27   unlawful monopolization, those are factual issues that cannot be resolved on a motion to dismiss.
28

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 1           Apple’s arguments that the aftermarket cannot be limited just to iPhone applications and
 2   that Apple cannot have market power in the claimed relevant market, Def. Mem. at 13-17, are
 3   misleading. While similar arguments might be relevant in a case challenging a primary product
 4   market (e.g., if Plaintiffs had alleged that Apple monopolized the smartphone market), they have
 5   no relevance where an aftermarket is alleged to have been monopolized. That is because by
 6   definition in an aftermarket case, the “relevant market” is the aftermarket for the particular
 7   primary market product involved. Here, by definition, the relevant market is the aftermarket for
 8   iPhone applications. And since it is alleged – and indeed, undisputed – that Apple is the sole
 9   distributor of iPhone apps, Apple by definition has “monopoly power” in that relevant market.
10           Apple’s argument that the Applications Aftermarket should not be defined to include all
11   apps, including products that are not substitutes for each other, such as like ringtones, music and
12   photo applications, and other software, Def. Mem. at 12-13, also completely misses the point. An
13   aftermarket monopolization case is not analyzed the same way as a primary market
14   monopolization case. Because Apple by definition has 100% monopoly control over every app
15   that is available for sale to iPhone consumers, by definition there is no competition for the sale of
16   any type of app, and the fact that the various apps Apple controls are not substitutes for one
17   another is totally irrelevant. The Court does not need to do a market analysis of each type of app
18   to determine if there are reasonable substitutes for that app controlled by other iPhone apps
19   providers that should be included within the product market definition – because it is undisputed
20   that there are no other iPhone apps providers with which Apple competes in the apps aftermarket
21   for any type of app. Apple’s “substitutability” argument, like its market definition and market
22   power arguments, is a total red herring in the context of this aftermarket monopolization case.6
23
24
     6
25          Even if Apple’s inherently irrelevant substitutability argument were correct, it would not be a basis
     for dismissal. Rather, the proper remedy would be to refine the Applications Aftermarket into
26   economically distinct submarkets for separately competing applications, i.e., a ringtone applications
     submarket, a music maker submarket, etc. Creating such submarkets is a well-accepted practice in antitrust
27   law. See Newcal, 513 F.3d at 1045 (citing Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962)).
28

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 1                  5.      Plaintiffs Plead Anticompetitive Conduct
 2          Finally, Apple’s argument that Plaintiffs have failed to allege anticompetitive conduct,
 3   Def. Mem. at 17-20, is likewise one that might warrant attention were this not an aftermarket
 4   monopolization case, but it has no bearing here. Under Newcal, when a manufacturer of a primary
 5   product like Apple’s iPhone locks iPhone consumers into an aftermarket, the manufacturer by
 6   definition has engaged in anticompetitive conduct unless the consumers “knowingly contracted”
 7   to be locked in. See 513 F.3d at 1049. Plaintiffs have adequately pleaded they did not knowingly
 8   contract to be locked in to Apple’s Apps Store or to pay Apple’s exorbitant 30% fee whenever
 9   they purchased apps for their iPhone. Nor more needs to be alleged.
10          In Apple I, Judge Ware sustained the identical Apps claims that Plaintiffs make here. In re
11   Apple & AT&TM Antitrust Litig., 596 F. Supp. 2d at 1304, 1306. These Plaintiffs’ Apps related
12   antitrust claims should be sustained as well.
13   V.     CONCLUSION

14          Apple’s motion to dismiss should be DENIED.

15   Dated: December 7, 2012
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